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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BENJAMIN GEORGE,                  )
                                  )
                     Plaintiff,   )                   Case No. 20 CV 6911
v.                                )
                                  )
CITY OF CHICAGO, JAMES GARDINER )                     Judge: Honorable Robert Blakey
CHARLES SIKANICH, CHICAGO         )
POLICE OFFICERS SOLOMON ING,      )                   Magistrate Judge: Honorable Beth Jantz
PETER PALKA, DANIEL SMITH, BILOS, )
JOSEPH FERRARA, SERGIO CORONA, )
ORTIZ, AND UNKNOWN CHICAGO        )
POLICE OFFICERS                   )
                                  )
                     Defendants. )

     DEFENDANTS’ UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO
     FILE REPLY IN SUPPORT OF THEIR MOTION TO DISMISS (ECF No. 40)

       Defendants Ing and Corona, by and through one of their attorneys, Nicholas Perrone;

Defendants Palka, Smith, Ferrera, and Bilos, (hereinafter “Defendant Officers”) by and through

one of their attorneys, Emily R. Bammel; and Defendant City of Chicago (hereinafter “Defendant

City), by and through Celia Meza, Acting Corporation Counsel for the City of Chicago,

(collectively “Defendants”), request that this Court extend the time for them to their Reply in

further support of their Motion to dismiss Plaintiff’s Amended Complaint to May 21, 2021. In

support of its motion, defendants state as follows:

       1.       On March 12, 2021, Plaintiff filed his first amended complaint against defendants.

(ECF No. 37.)

       2.       On April 1, 2021, defendants filed a motion to dismiss Plaintiff’s first amended

complaint (See ECF No. 40.).




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       3.      On April 5, 2021, this Court set a briefing schedule on Defendant’s motion to

dismiss. Plaintiff’s response was due April 30, 2021 and Defendants’ reply is due May 14, 2021.

       4.      Defendants are requesting a 1-week extension of time, to and including May 21,

2021, to complete their reply.

       5.      This is Defendants’ first request for an extension of time relating to motion practice.

This request is not made for dilatory purposes, and Plaintiff will not suffer any prejudice by

granting the extension.

       6.      Undersigned counsel has contacted Plaintiff’s lead counsel, Daniel Massoglia, who

agreed to this motion.

       WHEREFORE, Defendants respectfully request that this Court extend the time for them

to file their reply to and including May 21, 2021 and grant such further relief the Court finds

reasonable and just.


Dated: May 12, 2021                           Respectfully submitted,

                                              /s/ Nicholas Perrone
                                              Nicholas Perrone
                                              Assistant Corporation Counsel
                                              On behalf of Defendants Corona and Ing

                                              /s/Emily R. Bammel
                                              Emily R. Bammel
                                              Assistant Corporation Counsel
                                              On behalf of Defendants Palka, Smith, Bilos, and
                                              Ferrara

                                              CELIA MEZA
                                              Acting Corporation Counsel for the City of Chicago

                                      BY:     /s/Joi Kamper
                                              Assistant Corporation Counsel Supervisor
                                              On behalf of Defendant City of Chicago

Jennifer K. Bagby, Chief Assistant Corporation Counsel

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                                  CERTIFICATE OF SERVICE
       I hereby certify that on May 12, 2021, I served a copy of DEFENDANTS’
UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO FILE REPLY IN
SUPPORT OF THEIR MOTION TO DISMISS upon all parties via their attorneys of record
by causing it to be filed by the CM/ECF system.

                                                         /s/Nicholas J. Perrone




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